Case 21-56690-lrc      Doc 12    Filed 11/01/21 Entered 11/01/21 12:31:54             Desc Main
                                 Document     Page 1 of 14



                     IN THE UNITED STATES BANKRUPTCY COURT
                  NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 IN RE:                                            * CASE NO.: 21-56690-lrc
 Vergenia Rochella Lawrence-Yazid,                 *
 AKA Vergenia Rochella Lawrence; AKA               *
 Vergenia Lawrence; AKA Vergenia R                 *
 Lawrence,                                         *
                                                   * CHAPTER: 7
                                                   *
                                                   *
       Debtor                                      *


                                     NOTICE OF FILING


       Pursuant to Rule 1009 F. R. Bankr. P., notice is hereby given that, the Debtor filed an
amended pleading in the above-styled case, amending the following; Amendment to Chapter 7
Schedules A, B, C, D, Summary of Schedules and Statistical Summary to add creditor Ally
Financial, Inc.



                                                    /s/
                                                    Jessica Douglas GA Bar No. 340570
                                                    Attorneys for Debtor

Clark & Washington, LLC
3300 Northeast Expressway
Building 3
Atlanta, GA 30341
(404)522-2222
Fax (770)220-0685
Case 21-56690-lrc        Doc 12     Filed 11/01/21 Entered 11/01/21 12:31:54             Desc Main
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                   IN THE UNITED STATES BANKRUPTCY COURT
                NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 IN RE:                                              * CASE NO.: 21-56690-lrc
 Vergenia Rochella Lawrence-Yazid,                   *
 AKA Vergenia Rochella Lawrence; AKA                 *
 Vergenia Lawrence; AKA Vergenia R                   *
 Lawrence,                                           *
                                                     * CHAPTER: 7
       Debtor                                        *


                                  CERTIFICATE OF SERVICE
        I certify that I served the Debtor with a true and correct copy of the within and foregoing
“Amendment to Chapter 7 Schedules A, B, C, D, Summary of Schedules and Statistical
Summary” by placing the same in the United States Mail with adequate postage affixed to ensure
delivery and addressed to:
Vergenia Rochella Lawrence-Yazid
5860 Ocoee Trail
Douglasville, GA 30135

S. Gregory Hays, Chapter 7 Trustee
2964 Peachtree Road
Suite 555
Atlanta, GA 30305-2153

        This further certifies that, pursuant to BLR Rule 9007-2 (d) NDGA, in the same manner
as stated above, I served the following parties with the notice of filing, all notices and pleadings
previously sent to all creditors whether such notices were served by the debtor, the Bankruptcy
Clerk, or any other party in interest.
Ally Financial, Inc.
Reg. Agent: C T Corporation System
289 S Culver Street
Lawrenceville GA 30046-0000
                                                      DATED: 11/1/2021

                                                      /s/
                                                      Jessica Douglas GA Bar No. 340570
                                                      Attorneys for Debtor
Clark & Washington, LLC
3300 Northeast Expressway
Building 3
Atlanta, GA 30341
(404)522-2222
Fax (770)220-0685
               Case 21-56690-lrc                   Doc 12             Filed 11/01/21 Entered 11/01/21 12:31:54                                       Desc Main
                                                                      Document     Page 3 of 14
 Fill in this information to identify your case and this filing:

 Debtor 1                  Vergenia Rochella Lawrence-Yazid
                           First Name                       Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)       First Name                       Middle Name                     Last Name


 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number           21-56690-lrc                                                                                                                        Check if this is an
                                                                                                                                                            amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?



 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1      Make:       Infiniti                                Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
           Model:      Q50                                      Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
           Year:       2018                                     Debtor 2 only                                                Current value of the     Current value of the
           Approximate mileage:                  5264           Debtor 1 and Debtor 2 only                                   entire property?         portion you own?
           Other information:                                   At least one of the debtors and another

                                                                Check if this is community property                                  $31,800.00                 $15,900.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $15,900.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.


Official Form 106A/B                                                         Schedule A/B: Property                                                                       page 1
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             Case 21-56690-lrc                     Doc 12            Filed 11/01/21 Entered 11/01/21 12:31:54                     Desc Main
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 Debtor 1       Vergenia Rochella Lawrence-Yazid                                                    Case number (if known)     21-56690-lrc
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    Bed room                                                                                                       $200.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
     Yes.     Describe.....

                                    1 TV and 1 Cell phone                                                                                          $300.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
     No
     Yes.     Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
     Yes.     Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
     Yes.     Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
     Yes.     Describe.....

                                    Clothes and Shoes                                                                                              $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
     Yes.     Describe.....

                                    Costume Jewelry                                                                                                  $25.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes.     Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes.     Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                       $1,025.00



Official Form 106A/B                                                   Schedule A/B: Property                                                          page 2
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               Case 21-56690-lrc                               Doc 12               Filed 11/01/21 Entered 11/01/21 12:31:54                                  Desc Main
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 Debtor 1          Vergenia Rochella Lawrence-Yazid                                                                                Case number (if known)   21-56690-lrc

 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                   Current value of the
                                                                                                                                                               portion you own?
                                                                                                                                                               Do not deduct secured
                                                                                                                                                               claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
     Yes................................................................................................................
                                                                                                                                      Cash                                        $0.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:


                                              17.1.       Checking                               Chase                                                                          $60.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                             Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
     No
     Yes.       Give specific information about them...................
                                       Name of entity:                                                                              % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
     Yes. List each account separately.
                                              Type of account:                                   Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                                                 Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............                Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............                Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
Official Form 106A/B                                                                      Schedule A/B: Property                                                                  page 3
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 Debtor 1       Vergenia Rochella Lawrence-Yazid                                                         Case number (if known)   21-56690-lrc

     Yes.     Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
     Yes.     Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes.     Give specific information about them...

 Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes.     Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    No
     Yes. Name the insurance company of each policy and list its value.
                                         Company name:                                          Beneficiary:                          Surrender or refund
                                                                                                                                      value:

                                         Primerica- Term Life (no cash value)                   Sharmreal Lawrence                                      $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes.     Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes.     Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes.     Describe each claim.........

35. Any financial assets you did not already list
     No
     Yes.     Give specific information..



Official Form 106A/B                                                   Schedule A/B: Property                                                           page 4
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 Debtor 1         Vergenia Rochella Lawrence-Yazid                                                                                      Case number (if known)   21-56690-lrc

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                    $60.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.      Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                         $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                        $0.00
 56. Part 2: Total vehicles, line 5                                                                           $15,900.00
 57. Part 3: Total personal and household items, line 15                                                       $1,025.00
 58. Part 4: Total financial assets, line 36                                                                      $60.00
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $16,985.00              Copy personal property total              $16,985.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                          $16,985.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 5
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                                                                     Document     Page 8 of 14
 Fill in this information to identify your case:

 Debtor 1                 Vergenia Rochella Lawrence-Yazid
                          First Name                        Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                     Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number           21-56690-lrc
 (if known)
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.             11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      2018 Infiniti Q50 5264 miles                                                                                               O.C.G.A. § 44-13-100(a)(3)
      Line from Schedule A/B: 3.1
                                                                     $15,900.00                                   $2,823.27
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      Bed room                                                                                                                   O.C.G.A. § 44-13-100(a)(4)
      Line from Schedule A/B: 6.1
                                                                          $200.00                                   $200.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      1 TV and 1 Cell phone                                                                                                      O.C.G.A. § 44-13-100(a)(4)
      Line from Schedule A/B: 7.1
                                                                          $300.00                                   $300.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      Clothes and Shoes                                                                                                          O.C.G.A. § 44-13-100(a)(4)
      Line from Schedule A/B: 11.1
                                                                          $500.00                                   $500.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit

      Costume Jewelry                                                                                                            O.C.G.A. § 44-13-100(a)(5)
      Line from Schedule A/B: 12.1
                                                                           $25.00                                    $25.00
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 2
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 Debtor 1    Vergenia Rochella Lawrence-Yazid                                                            Case number (if known)     21-56690-lrc
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Cash                                                                                                                         O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 16.1
                                                                            $0.00                                    $0.00
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Chase                                                                                                              O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 17.1
                                                                          $60.00                                   $60.00
                                                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Primerica- Term Life (no cash value)                                                                                         O.C.G.A. § 44-13-100(a)(9)
     Beneficiary: Sharmreal Lawrence
                                                                            $0.00                                    $0.00
     Line from Schedule A/B: 31.1                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                  No
                  Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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               Case 21-56690-lrc                   Doc 12             Filed 11/01/21 Entered 11/01/21 12:31:54                                    Desc Main
                                                                     Document      Page 10 of 14
 Fill in this information to identify your case:

 Debtor 1                   Vergenia Rochella Lawrence-Yazid
                            First Name                      Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number           21-56690-lrc
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Ally Financial, Inc.                     Describe the property that secures the claim:                 $26,153.46               $31,800.00                     $0.00
         Creditor's Name                          2018 Infiniti Q50 5264 miles
         Reg. Agent: C T
         Corporation System
                                                  As of the date you file, the claim is: Check all that
         289 S Culver Street                      apply.
         Lawrenceville, GA 30046                   Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                                $26,153.46
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                               $26,153.46

 Part 2:      List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 1
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               Case 21-56690-lrc                        Doc 12            Filed 11/01/21 Entered 11/01/21 12:31:54                                                   Desc Main
                                                                         Document      Page 11 of 14
 Fill in this information to identify your case:

 Debtor 1                   Vergenia Rochella Lawrence-Yazid
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 Case number           21-56690-lrc
 (if known)
                                                                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              16,985.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $              16,985.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                        $              26,153.46

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                              $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                                $              31,123.00


                                                                                                                                     Your total liabilities $                    57,276.46


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................                 $                1,537.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                1,537.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
 7.     What kind of debt do you have?


               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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             Case 21-56690-lrc                     Doc 12             Filed 11/01/21 Entered 11/01/21 12:31:54                      Desc Main
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 Debtor 1      Vergenia Rochella Lawrence-Yazid                                           Case number (if known) 21-56690-lrc

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $            1,671.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                    page 2 of 2
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                   IN THE UNITED STATES BANKRUPTCY COURT
                NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 IN RE:                                             * CASE NO.: 21-56690-lrc
 Vergenia Rochella Lawrence-Yazid,                  *
 AKA Vergenia Rochella Lawrence; AKA                *
 Vergenia Lawrence; AKA Vergenia R                  *
 Lawrence,                                          *
                                                    * CHAPTER: 7
       Debtor                                       *



             UNSWORN DECLARATION UNDER PENALTY OF PERJURY


       I, Vergenia Rochella Lawrence-Yazid, hereby certify under penalty of perjury that the
attached pleading is true and correct to the best of my information and belief.

       Dated: 10/29/2021

       Signed: /s/_______________
              Vergenia Rochella Lawrence-Yazid
Case 21-56690-lrc   Doc 12    Filed 11/01/21 Entered 11/01/21 12:31:54   Desc Main
                             Document      Page 14 of 14



                             SUPPLEMENTARY MATRIX


                         Ally Financial, Inc.
                         Reg. Agent: C T Corporation System
                         289 S Culver Street
                         Lawrenceville GA 30046-0000
